
PER CURIAM
*211Appellant seeks reversal of a judgment committing her to the custody of the Mental Health Division for a period not to exceed 180 days pursuant to ORS 426.130. Appellant argues that the trial court plainly erred by failing to advise her of the information required by ORS 426.100(1). See State v. L. D. M. , 289 Or. App. 768, 769, 408 P.3d 272 (2018) (explaining that "the court's failure to advise appellant of her rights under ORS 426.100(1) constitutes plain error and requires reversal"). The state concedes that, under our case law, the trial court plainly erred in that regard and that the error warrants reversal. We agree, accept the state's concession, and, for the reasons referenced in L. D. M. , exercise our discretion to correct the error.
Reversed.
